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                            Case 22-11068-JTD              Doc 26265          Filed 10/03/24         Page 1 of 3


   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF DELAWARE


   In re:
                                                                            Chapter 11
            FTX Trading Ltd., et al.                                        Case No. 22-11068
                     Debtors                                                (Jointly Administered)



                                   TRANSFER OF CLAIM OTHER THAN FOR SECURITY

   A CLAIM HAS BEEN FILED IN THIS CASE or deemed ﬁled under 11 U.S.C. § 1111(a). Transferee hereby gives evidence and
   notice pursuant to Rule 3001(e)(2) Fed. R. of Bankr. P., of the transfer, other than for security, of the claim referenced in
   this evidence and notice.


    Name of Transferor                                                 Name of Transferee



    [CONFIDENTIAL CREDITOR]                                            PHOENIX TF, LLC


    Transferor’s Address:                                              Transferee’s address for notices and payment:


             [Address on File]                                                  418 Broadway Ste R

                                                                                 Albany, NY 12207

                                                                                Attn: Jonathan Forsgren

                                                                                customerservice@phoenixtf.co.uk



    Schedule/Claim No.                                     Creditor Name          % Transferred       Debtor              Case No.

    Schedule #: 5361856                                    Name (Redacted)        100%                FTX Trading Ltd.    22-11068


   I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my
   knowledge and belief.


                                         By:                                                        Date:         

                                                Transferee / Transferee’s Agent


   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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                                        Identity of Transferor/Seller

Transferee/Buyer has in its possession an unredacted Transfer of Claim Other Than For Security and an executed
Evidence of Transfer of Claim.

In order to protect the identity of the Transferor/Seller, Transferee/Buyer has not disclosed the
Transferor’s/Seller’s name in the ﬁled Transfer of Claim Other Than For Security and Evidence of Transfer of
Claim.

Upon written request, Transferee/Buyer is prepared to provide a copy of the unredacted Transfer of Claim Other
Than For Security and signed Evidence of Transfer of Claim to the Bankruptcy Court, the Debtors, and related
appropriate professionals.
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                                                           EXHIBIT A

                                       SCHEDULED CLAIM(S) / PROOF(S) OF CLAIM

   Excerpt from Schedule F:




   Excerpt from Amended Schedule F (2023):




   Excerpt from Amended Schedule F (2024):




   Excerpt from Kroll Website:
